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5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )
                                   )          CR. No. 2:11-cr-00295-MCE
11                   Plaintiff,    )
                                   )
12             v.                  )
                                   )          STIPULATION AND ORDER
13   ANTHONY RIVERA,               )          CONTINUING MOTION SCHEDULE
                                   )          AND HEARING DATE
14                   Defendant.    )
     ______________________________)
15
16        The parties hereby stipulate as follows:
17   •    That the non-evidentiary hearing on the defendant’s motion, set
18        for July 19, 2012 as well as the associated briefing schedule,
19        be vacated.
20   •    That a non-evidentiary hearing on the motion be held on August
21        9, 2012, at 9:00 a.m.
22   •    The defense has already filed the motion. The government’s
23        response shall be due July 19, 2012.
24   •    If the defense chooses to reply, that reply shall be filed by
25        August 2, 2012.
26        The continuance of the motion hearing and schedule is necessary
27   for the preparation of the parties and continued plea negotiations.
28   Specifically, the prosecution is conducting additional investigation

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1    necessary to preparing an adequate response to the defendant’s
2    motion.   The prosecution intends to file a declaration of the
3    defendant’s parole officer.
4         Accordingly, the parties jointly request that the time period
5    from today’s date through August 9, 2012 be excluded under the
6    Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(B)(iv),
7    3161(h)(7)(B)(ii) and 3161(h)(1)(D) and Local Codes T4, T2 and E due
8    to the motion, the preparation of the parties, continuity of
9    counsel, and based on a finding by the Court that the ends of
10   justice served by granting a continuance outweigh the best interest
11   of the public and defendant in a speedy trial.
12
                                              BENJAMIN B. WAGNER
13                                            United States Attorney
14   Dated: June 27, 2012                     /s/ Daniel S. McConkie
                                              DANIEL S. McCONKIE
15                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
16
17                                            Respectfully submitted,
18   Dated: June 27, 2012                  /s/ Robert M. Holley
                                           ROBERT M. HOLLEY, ESQ.
19                                         Attorney for the Defendant
                                      By DSM per telephonic authorization
20
21                                     ORDER
22
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
23
24   Dated: July 5, 2012

25
                                       _____________________________
26
                                       MORRISON C. ENGLAND, JR.
27                                     UNITED STATES DISTRICT JUDGE

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